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     John Balazs, Bar. No. 157287
1    Attorney at Law
     916 2nd Street, Suite F
2    Sacramento, California 95814
     Telephone: (916) 447-9299
3    Facsimile: (916) 557-1118
     john@balazslaw.com
4
     Attorney for Defendant
5    BROOK MURPHY
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9                                         UNITED STATES DISTRICT COURT
10                                    EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                         No. 2:15-CR-0234-JAM

13                           Plaintiff,                STIPULATION AND ORDER

14             v.
                                                       Sentencing:
15   BROOK MURPHY,                                     Date: October 3, 2017
                                                       Time: 9:15 a.m.
16                           Defendant.                Hon. John A. Mendez

17
18             Defendant, BROOK MURPHY, by and through his attorney, John Balazs, and plaintiff,
19   UNITED STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney Jason
20   Hitt, hereby stipulate and request that the Court extend the sentencing schedule as follows:

21
               Sentencing:
22
               Informal objections to Draft PSR due:                September 5, 2017
23
24             Final PSR due:                                       September 12, 2017

25
               Motion for Correction of PSR                         September 19, 2017
26
               Reply or Statement of Non-Opposition                 September 26, 2017
27
28             Judgment and Sentencing Date                         October 3, 2017

     Stipulation and Order                               1
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1              This request is made because the defendant needs additional time to provide information

2    to the probation officer and to prepare for sentencing.

3    Dated: August 1, 2017                         Dated: August 1, 2017

4
     PHILLIP A. TALBERT
5    United States Attorney

6
      /s/ Jason Hitt                                /s/John Balazs
7    JASON HITT                                    JOHN BALAZS
     Assistant U.S. Attorney
8
     Attorney for Plaintiff                        Attorney for Defendant
9    UNITED STATES OF AMERICA                      BROOK MURPHY

10
11                                                 ORDER

12             IT IS SO ORDERED.

13   Dated: 8/1/2017

14                                          /s/ John A. Mendez_____________
                                            HON. JOHN A. MENDEZ
15                                          United States District Court Judge

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     Stipulation and Order                             2
